            Case 2:18-cv-01115-RSL Document 189 Filed 06/13/19 Page 1 of 1



 1                                                                    The Honorable Robert S. Lasnik

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                                UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 6                                       AT SEATTLE
 7                                                     )
     STATE OF WASHINGTON, et al.,                      )       No. 2:18-cv-1115-RSL
 8                                                     )
        Plaintiffs,                                    )       FEDERAL DEFENDANTS’
                                   v.                  )       UNOPPOSED MOTION TO
 9                                                     )       SEAL SUPPLEMENT TO
     UNITED STATES DEPARTMENT OF                       )       ADMINISTRATIVE RECORD
10   STATE, et al.,                                    )
                                                       )
11      Defendants.                                    )
                                                       )
12                                               ORDER
13          This matter comes before the Court on the Federal Defendants’ Unopposed Motion to

14   Seal the Supplement to the Administrative Record. Dkt. # 181. Upon consideration of the Federal
     Defendants’ motion and of all materials submitted in relation thereto, it is hereby
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            ORDERED that the Federal Defendants’ motion is GRANTED. It is further
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            ORDERED that the clerk of court SEAL the supplement to the administrative record,
17   Dkt. No. 179. It is further

18          ORDERED that all parties in possession of the information identified in the Federal
     Defendants’ clawback letter of April 24, 2019, sequester those documents until any privilege
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     disputes are resolved.
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21          DATED this 13th day of June, 2019.

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23                                                 A
                                                   Robert S. Lasnik
24                                                 United States District Judge



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